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Fr Paul Texts
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         Chat with "Father Paul" <+15095998437> on July 26, 2021
        All Parties: Father Paul <+15095998437>; +15095955272

        Earliest item: 2021-07-26 08:35:43
        Latest item: 2021-07-26 11:08:39


                                     Monday 26 July 2021




Instant Message : Native Messages                          Time: 08:35:43
From: Father Paul <+15095998437>

How you holding up?



                      Instant Message : Native Messages                       Time: 08:36:28
                      From: +15095955272

                      Without the strength He has given me, I would be a broken man.




Instant Message : Native Messages                          Time: 09:41:13
From: Father Paul <+15095998437>

Here for you.




                                                                             Exhibit B Page 4
                                                                                     ROLOVICH00030919
Case 2:22-cv-00319-TOR         ECF No. 89-3    filed 09/23/24       PageID.1204    Page 5
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Instant Message : Native Messages                      Time: 10:55:58
From: Father Paul <+15095998437>

   64901494387__86F5C4CF-204C-432B-8ED3-433249938F42.HEIC




                            https://p13-
 content.icloud.com/M3E49350BA395947F1B60F5BA6C345E8E03765F71
                D508FCEC05FB9F0385E3BDFD.C01USN00




Instant Message : Native Messages                      Time: 11:02:57
From: Father Paul <+15095998437>

Nick

I found this helpful.

What happens in the end I you got the shot an it was all good. It’s a
very good chance it will be. As you said most are getting the variant
who have not gotten the shot. I believe because of the kind of man you
are an your charter getting the vaccine would not impede you. As one
who has worked with college for 20 years I desire to have you so much
at WSU. Your a game changer! Peace.




                                                                          Exhibit B Page 5
                                                                                  ROLOVICH00030920
Case 2:22-cv-00319-TOR    ECF No. 89-3    filed 09/23/24         PageID.1205        Page 6
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                  Instant Message : Native Messages                        Time: 11:08:39
                  From: +15095955272

                  Thank you for your counsel and info the past few days. It has been
                  pretty amazing for me with my reconnection with God over the past
                  year or so. I am awaiting some medical results currently that will help
                  me with my decision.



                                      End Thread




                                 Thread Statistics
              Instant Message Count: 6




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                                                                                 ROLOVICH00030921
Case 2:22-cv-00319-TOR         ECF No. 89-3    filed 09/23/24           PageID.1206        Page 7
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        Chat with "Father Paul" <+15095998437> on August 1, 2021
        All Parties: Father Paul <+15095998437>; +15095955272

        Earliest item: 2021-08-01 10:28:45
        Latest item: 2021-08-01 10:38:39


                                      Sunday 01 August 2021




Instant Message : Native Messages                         Time: 10:28:45
From: Father Paul <+15095998437>

Happy Sunday to you Nick in your family.



                      Instant Message : Native Messages                           Time: 10:29:05
                      From: +15095955272

                      Thank you father.




                      Instant Message : Native Messages                           Time: 10:29:39
                      From: +15095955272

                      I realized He carried me through this last week, much like footprints.




Instant Message : Native Messages                         Time: 10:31:38
From: Father Paul <+15095998437>

Yes he has.



Instant Message : Native Messages                         Time: 10:33:02
From: Father Paul <+15095998437>

How is your wife an And children been doing?



                      Instant Message : Native Messages                           Time: 10:34:21
                      From: +15095955272

                      Struggling with schooling decision for this fall. I still love her and honor
                      her as my wife and mother of our children.




                                                                                  Exhibit B Page 7
                                                                                        ROLOVICH00030923
Case 2:22-cv-00319-TOR         ECF No. 89-3    filed 09/23/24       PageID.1207       Page 8
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                       Instant Message : Native Messages                      Time: 10:34:47
                       From: +15095955272

                       I am very proud of the children and the kind young people they have
                       become.




Instant Message : Native Messages                      Time: 10:38:39
From: Father Paul <+15095998437>

Have you come to a decision about getting the vaccine or not?



                                          End Thread




                                Thread Statistics
                 Instant Message Count: 8




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                                                                                   ROLOVICH00030924
Case 2:22-cv-00319-TOR        ECF No. 89-3    filed 09/23/24          PageID.1208       Page 9
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         Chat with "Father Paul" <+15095998437> on August 9, 2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-08-09 12:22:17
         Latest item: 2021-08-09 19:35:14


                                     Monday 09 August 2021




                      Instant Message : Native Messages                         Time: 12:22:17
                      From: Unknown

                      I read this this morning regarding temptation..."Keep in mind,
                      temptation itself is not a sin. Being tempted is not the same as sinning.
                      Sinning is when you yield to the temptation. Satan uses temptation to
                      move us away from the will of God. He offers the down payment of
                      pleasure, numbing pain, or distraction so that he can come back later
                      for full payment with interest.



Instant Message : Native Messages                        Time: 12:37:27
From: Father Paul <+15095998437>

Fantastic insight.




Instant Message : Native Messages                        Time: 12:44:16
From: Father Paul <+15095998437>

I know your slammed but would love to show the Catholic student
center. It's behind the Couge




Instant Message : Native Messages                        Time: 13:04:42
From: Father Paul <+15095998437>

Y the way I met one one with Dean you field goal kicker. What an
amazing Man. So impressed. He really loves you as a coach. You need
to know your players care about you.



                      Instant Message : Native Messages                         Time: 15:08:33
                      From: Unknown

                      He is amazing, organized a snow removal for some needy people in the
                      community last winter




                                                                               Exhibit B Page 9
                                                                                      ROLOVICH00012142
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24     PageID.1209    Page 10
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 Instant Message : Native Messages                       Time: 19:35:14
 From: Father Paul <+15095998437>

 All your players I work with are Quality men of God.



                                            End Thread




                                       Thread Statistics
                  Instant Message Count: 6




                                                                          Exhibit B Page 10
                                                                                  ROLOVICH00012143
Case 2:22-cv-00319-TOR              ECF No. 89-3     filed 09/23/24         PageID.1210     Page 11
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             Chat with "Father Paul" <+15095998437> on August 16,
                                      2021
          All Parties: +15095955272; Father Paul <+15095998437>; Unknown

          Earliest item: 2021-08-16 05:05:00
          Latest item: 2021-08-16 22:08:41


                                          Monday 16 August 2021




                          Instant Message : Native Messages                        Time: 05:05:00
                          From: Unknown

                          "Providence is the hand of God moving in the glove of history"



 Instant Message : Native Messages                            Time: 07:21:15
 From: Father Paul <+15095998437>

 Again would really like to chat.




 Instant Message : Native Messages                            Time: 16:52:54
 From: Father Paul <+15095998437>

 How was your day?




 Instant Message : Native Messages                            Time: 19:46:35
 From: Father Paul <+15095998437>

 Pure love is capable of great deeds, and it is not broken by difficulty or
 adversity. As it remains strong in the midst of great difficulties, so too it
 perseveres in the toilsome and drab life of each day. - Saint Faustina



                          Instant Message : Native Messages                        Time: 19:47:39
                          From: Unknown

                          Thank you



 Instant Message : Native Messages                            Time: 19:48:29
 From: Father Paul <+15095998437>

 This is the root of marriage




                                                                                  Exhibit B Page 11
                                                                                           ROLOVICH00034053
Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24     PageID.1211    Page 12
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 Instant Message : Native Messages                     Time: 22:00:47
 From: Father Paul <+15095998437>




                       Instant Message : Native Messages                 Time: 22:01:40
                       From: Unknown

                       They are gonna fire me Father



 Instant Message : Native Messages                     Time: 22:02:30
 From: Father Paul <+15095998437>

 Do you know that for sure.




                                                                        Exhibit B Page 12
                                                                                ROLOVICH00034054
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24       PageID.1212       Page 13
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                         Instant Message : Native Messages                        Time: 22:02:42
                         From: Unknown

                         Yes




                         Instant Message : Native Messages                        Time: 22:04:44
                         From: Unknown

                         Not at all




 Instant Message : Native Messages                          Time: 22:07:42
 From: Father Paul <+15095998437>

 Ok. Then know you have my support. Your a man of great courage an
 conviction.



 Instant Message : Native Messages                          Time: 22:08:28
 From: Father Paul <+15095998437>

 I will pray for your heart because I am sure it is breaking.



                         Instant Message : Native Messages                        Time: 22:08:29
                         From: Unknown

                         It is only possible now that God has entered my heart



 Instant Message : Native Messages                          Time: 22:08:41
 From: Father Paul <+15095998437>

 Amen.



                                              End Thread




                                         Thread Statistics
                   Instant Message Count: 15




                                                                                 Exhibit B Page 13
                                                                                        ROLOVICH00034055
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1213    Page 14
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            Chat with "Father Paul" <+15095998437> on August 18,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-08-18 10:09:24
         Latest item: 2021-08-18 20:31:10


                                      Wednesday 18 August 2021




 Instant Message : Native Messages                          Time: 10:09:24
 From: Father Paul <+15095998437>

 Know, and fix in your heart, that the Lord is God in the heavens above
 and on earth below, and that there is no other. You must keep his
 statutes and commandments which I enjoin on you today.



                        Instant Message : Native Messages                     Time: 11:25:35
                        From: Unknown

                        Did a proclamation this morning, and enjoyed it.




 Instant Message : Native Messages                          Time: 11:25:59
 From: Father Paul <+15095998437>

 Sweet




 Instant Message : Native Messages                          Time: 13:51:53
 From: Father Paul <+15095998437>

 Could you send my your talk an power point on the gospel you gave at
 Camp.



 Instant Message : Native Messages                          Time: 13:53:38
 From: Father Paul <+15095998437>

 Sorry wrong person.




                                                                             Exhibit B Page 14
                                                                                     ROLOVICH00012144
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24      PageID.1214    Page 15
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 Instant Message : Native Messages                      Time: 13:54:44
 From: Father Paul <+15095998437>

 Peace




 Instant Message : Native Messages                      Time: 20:25:11
 From: Father Paul <+15095998437>

 How was your day




                        Instant Message : Native Messages                   Time: 20:25:32
                        From: Unknown

                        Tough



 Instant Message : Native Messages                      Time: 20:26:06
 From: Father Paul <+15095998437>

 Ok. What was going on? What you feeling



 Instant Message : Native Messages                      Time: 20:29:50
 From: Father Paul <+15095998437>

 How was it tough



 Instant Message : Native Messages                      Time: 20:31:10
 From: Father Paul <+15095998437>

 5 Trust in the LORD with all your heart and lean not on your own
 understanding; 6 in all your ways submit to him, and he will make your
 paths straight.



                                           End Thread




                                   Thread Statistics
                    Instant Message Count: 11




                                                                           Exhibit B Page 15
                                                                                   ROLOVICH00012145
Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24         PageID.1215       Page 16
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             Chat with "Father Paul" <+15095998437> on August 19,
                                      2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-08-19 05:48:01
         Latest item: 2021-08-19 23:24:30


                                     Thursday 19 August 2021




                       Instant Message : Native Messages                        Time: 05:48:01
                       From: Unknown

                       Father, why would it be that the devil is coming after me so strongly?
                       And so consistently since I arrived in Pullman.



 Instant Message : Native Messages                         Time: 06:31:03
 From: Father Paul <+15095998437>

 Nick Gods grace is enough for you. He has no power over you. You are
 enough an a beloved son of the Father. You are protected in Jesus
 name.




 Instant Message : Native Messages                         Time: 06:52:06
 From: Father Paul <+15095998437>

 https://ac.wordonfire.org/Prod/link-tracker?
 redirectUrl=aHR0cHMlM0ElMkYlMkZ3d3cud29yZG9uZmlyZS5vcmclMkZw
 ZXRlcnNvbi1ib29r&a=999795128&account=wordonfire%2Eactivehosted
 %2Ecom&email=yR7bRLKkIBb%2FKS4efJ1KjWydMBTpgs8%2By%2Bzg
 O7vf48c%3D&s=790d4a66642529888ed3cfbdb80027b7&i=6524A1308
 9A94A1444765




 Instant Message : Native Messages                         Time: 07:15:34
 From: Father Paul <+15095998437>

 https://youtu.be/wlQ2PgQeWmQ



 Instant Message : Native Messages                         Time: 07:15:45
 From: Father Paul <+15095998437>

 Listen to this song




                                                                              Exhibit B Page 16
                                                                                      ROLOVICH00012146
Case 2:22-cv-00319-TOR            ECF No. 89-3     filed 09/23/24      PageID.1216    Page 17
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 Instant Message : Native Messages                       Time: 07:15:56
 From: Father Paul <+15095998437>

 I am around all day




 Instant Message : Native Messages                       Time: 07:42:57
 From: Father Paul <+15095998437>

 From the book of the prophet Isaiah

 11:1-16



 Instant Message : Native Messages                       Time: 07:43:28
 From: Father Paul <+15095998437>

 Look this up an read. The Father is raising you up.




 Instant Message : Native Messages                       Time: 15:23:53
 From: Father Paul <+15095998437>

 How you holding up right now




 Instant Message : Native Messages                       Time: 15:25:10
 From: Father Paul <+15095998437>

 Victor is one happy Man today.



                        Instant Message : Native Messages                     Time: 15:26:25
                        From: Unknown

                        He makes me happy everyday



 Instant Message : Native Messages                       Time: 15:26:51
 From: Father Paul <+15095998437>

 ?

 Has Pat considered if they let you go how many player may not play?




                                                                             Exhibit B Page 17
                                                                                     ROLOVICH00012147
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24      PageID.1217     Page 18
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                         Instant Message : Native Messages                     Time: 15:27:32
                         From: Unknown

                         I am not sure. He hasn't talked about that




 Instant Message : Native Messages                        Time: 15:27:53
 From: Father Paul <+15095998437>

 He really should.




                         Instant Message : Native Messages                     Time: 15:28:18
                         From: Unknown

                         I try hard to avoid threats



                         Instant Message : Native Messages                     Time: 15:29:14
                         From: Unknown

                         Talked with Bishop Daly today. He agreed to help. How God brought
                         him back in my life is truly amazing. And you Father



 Instant Message : Native Messages                        Time: 15:33:02
 From: Father Paul <+15095998437>

 I know you would never ever

 Say that. But I am more interested if they thought of that.

 And thank you! You really have inspired me

 To think through issues like this at a deeper level.



                         Instant Message : Native Messages                     Time: 16:05:46
                         From: Unknown

                         Can I call you later




 Instant Message : Native Messages                        Time: 16:19:52
 From: Father Paul <+15095998437>

 Yes




                                                                             Exhibit B Page 18
                                                                                    ROLOVICH00012148
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24          PageID.1218    Page 19
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 Instant Message : Native Messages                       Time: 22:55:21
 From: Father Paul <+15095998437>

 What is your email




                        Instant Message : Native Messages                       Time: 22:56:45
                        From: Unknown

                        Nrolo21@hotmail.com




 Instant Message : Native Messages                       Time: 23:21:47
 From: Father Paul <+15095998437>

 good conscience is another fundamental element of Christian moral
 teaching. “Conscience is a judgment of reason by which the human
 person recognizes the moral quality of a concrete act” (CCC, no. 1796).
 “Man has in his heart a law inscribed by God. . . . His conscience is
 man’s most secret core, and his sanctuary” (GS, no. 16).



 Instant Message : Native Messages                       Time: 23:24:30
 From: Father Paul <+15095998437>

 Based on are conversations Nick this is what I have heard you saying.



                                            End Thread




                                       Thread Statistics
                  Instant Message Count: 23




                                                                               Exhibit B Page 19
                                                                                       ROLOVICH00012149
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24             PageID.1219    Page 20
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             Chat with "Father Paul" <+15095998437> on August 20,
                                      2021
          All Parties: Father Paul <+15095998437>; Unknown

          Earliest item: 2021-08-20 05:26:56
          Latest item: 2021-08-20 23:50:40


                                         Friday 20 August 2021




                        Instant Message : Native Messages                          Time: 05:26:56
                        From: Unknown

                        I like the first definition or quote.



                        Instant Message : Native Messages                          Time: 05:27:40
                        From: Unknown

                        Have you read the poem "If"?




                        Instant Message : Native Messages                          Time: 05:39:26
                        From: Unknown

                        "God has a way of blessing you exactly where you experienced the pain
                        the most."

                        Ephraim, meaning " God has made me fruitful in the land of my
                        affliction."

                        This made sense to me, this team is like something I've never been
                        around. The % of love and commitment in a very troubling time is
                        unmatched. I am grateful for them.



 Instant Message : Native Messages                               Time: 06:54:23
 From: Father Paul <+15095998437>

 I believe I have.



 Instant Message : Native Messages                               Time: 07:18:19
 From: Father Paul <+15095998437>

 The definition I send you on conscience is the classic one from the
 catholic catechism. I recommend you spend allot of thought with it.




                                                                                  Exhibit B Page 20
                                                                                          ROLOVICH00001293
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24           PageID.1220      Page 21
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 Instant Message : Native Messages                         Time: 07:19:44
 From: Father Paul <+15095998437>

 I am coming to practice today. Over looking the practice field on top.




                         Instant Message : Native Messages                          Time: 07:21:00
                         From: Unknown

                         I've noticed you before. You attack the stairs with a vigor of a college
                         hill resident. Its keeping you young father.




 Instant Message : Native Messages                         Time: 07:22:01
 From: Father Paul <+15095998437>

 My calves are huge.



 Instant Message : Native Messages                         Time: 08:28:05
 From: Father Paul <+15095998437>

 Your proclamation today

 Lord, + open my lips.

 – And my mouth will proclaim your praise.



 Instant Message : Native Messages                         Time: 11:16:12
 From: Father Paul <+15095998437>

 Entrust your cares to the Lord *

 and he will support you.

 He will never allow *

 the just man to stumble.




                         Instant Message : Native Messages                          Time: 11:17:19
                         From: Unknown

                         Do you think he allows for stumbles?




                                                                                  Exhibit B Page 21
                                                                                         ROLOVICH00001294
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1221       Page 22
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                        Instant Message : Native Messages                        Time: 11:18:06
                        From: Unknown

                        I feel like a just man can stumble but may never fall in the Lords eyes?




 Instant Message : Native Messages                        Time: 11:21:59
 From: Father Paul <+15095998437>

 We all stumble yet our focus cannot not be on that. Our interior gaze on
 the Lord is what keep fixed on him. It's that interior Sanctuary of the
 Heart that keeps us focused.




                        Instant Message : Native Messages                        Time: 11:22:33
                        From: Unknown

                        I'm on that train. Makes sense



 Instant Message : Native Messages                        Time: 11:23:27
 From: Father Paul <+15095998437>

 Yes you are. One day at a time.



 Instant Message : Native Messages                        Time: 11:24:52
 From: Father Paul <+15095998437>

 I have something for you. You free at 1 for me to drop it off?



                        Instant Message : Native Messages                        Time: 11:40:20
                        From: Unknown

                        I should be, unless they call me to another meeting




 Instant Message : Native Messages                        Time: 13:14:55
 From: Father Paul <+15095998437>

 I am outside your complex




                                                                               Exhibit B Page 22
                                                                                       ROLOVICH00001295
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24      PageID.1222    Page 23
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                         Instant Message : Native Messages                   Time: 13:15:14
                         From: Unknown

                         I'll be right down




 Instant Message : Native Messages                         Time: 13:15:14
 From: Father Paul <+15095998437>

 First foor




 Instant Message : Native Messages                         Time: 22:28:29
 From: Father Paul <+15095998437>

 How you doing?



 Instant Message : Native Messages                         Time: 23:50:40
 From: Father Paul <+15095998437>

 What time is practice



                                              End Thread




                                 Thread Statistics
                  Instant Message Count: 22




                                                                            Exhibit B Page 23
                                                                                    ROLOVICH00001296
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24         PageID.1223    Page 24
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            Chat with "Father Paul" <+15095998437> on August 24,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-08-24 08:22:23
         Latest item: 2021-08-24 19:32:18


                                        Tuesday 24 August 2021




 Instant Message : Native Messages                           Time: 08:22:23
 From: Father Paul <+15095998437>

 4. “Talent wins games, but teamwork and intelligence win
 championships.”



 Instant Message : Native Messages                           Time: 08:25:55
 From: Father Paul <+15095998437>

 "You never know how strong you are, until being strong is your only
 choice." "Calm mind brings inner strength and self-confidence, so that's
 very important for good health." "Life doesn't get easier or more
 forgiving, we get stronger and more resilient." "Courage is grace under
 pressure."




 Instant Message : Native Messages                           Time: 09:44:49
 From: Father Paul <+15095998437>

 Are you around I want to bring something to you




                        Instant Message : Native Messages                      Time: 10:59:02
                        From: Unknown

                        In a meeting. Are you here?



 Instant Message : Native Messages                           Time: 10:59:46
 From: Father Paul <+15095998437>

 In five. I want to drop off the religious exemption form from the diocese
 for you to sign




                                                                              Exhibit B Page 24
                                                                                      ROLOVICH00001297
Case 2:22-cv-00319-TOR            ECF No. 89-3     filed 09/23/24   PageID.1224    Page 25
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                       Instant Message : Native Messages                   Time: 11:00:25
                       From: Unknown

                       Ok, I can come down when you get here




 Instant Message : Native Messages                       Time: 11:03:59
 From: Father Paul <+15095998437>

 Here




 Instant Message : Native Messages                       Time: 13:16:02
 From: Father Paul <+15095998437>

 https://youtu.be/wlQ2PgQeWmQ



 Instant Message : Native Messages                       Time: 13:16:25
 From: Father Paul <+15095998437>

 This is how much you ate love.



 Instant Message : Native Messages                       Time: 18:42:54
 From: Father Paul <+15095998437>

 How things going.



                       Instant Message : Native Messages                   Time: 19:23:01
                       From: Unknown

                       Great, excited to see Uniontown




 Instant Message : Native Messages                       Time: 19:23:54
 From: Father Paul <+15095998437>

 Nice. Any word from Pat?



                       Instant Message : Native Messages                   Time: 19:24:32
                       From: Unknown

                       No, I haven't turned anything in yet




                                                                          Exhibit B Page 25
                                                                                  ROLOVICH00001298
Case 2:22-cv-00319-TOR      ECF No. 89-3     filed 09/23/24      PageID.1225    Page 26
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 Instant Message : Native Messages                    Time: 19:32:18
 From: Father Paul <+15095998437>

 Ok



                                         End Thread




                                     Thread Statistics
                Instant Message Count: 14




                                                                       Exhibit B Page 26
                                                                               ROLOVICH00001299
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24         PageID.1226       Page 27
                                            of 64

            Chat with "Father Paul" <+15095998437> on August 28,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-08-28 08:28:40
         Latest item: 2021-08-28 09:31:07


                                        Saturday 28 August 2021




                         Instant Message : Native Messages                       Time: 08:28:40
                         From: Unknown

                         Next time we get a few minutes, I would love to discuss Babylon.



 Instant Message : Native Messages                            Time: 08:29:58
 From: Father Paul <+15095998437>

 Ok. Don't know allot allot. But sure




                         Instant Message : Native Messages                       Time: 08:30:50
                         From: Unknown

                         I will do some research. Is it mentioned in the Old Testament?




 Instant Message : Native Messages                            Time: 08:31:26
 From: Father Paul <+15095998437>

 That would be great.



 Instant Message : Native Messages                            Time: 09:27:41
 From: Father Paul <+15095998437>

 You an your wife have plans tonight



                         Instant Message : Native Messages                       Time: 09:28:38
                         From: Unknown

                         Watching football games on TV. What do you have in mind?




                                                                               Exhibit B Page 27
                                                                                          ROLOVICH00012150
Case 2:22-cv-00319-TOR         ECF No. 89-3     filed 09/23/24       PageID.1227       Page 28
                                          of 64
 Instant Message : Native Messages                      Time: 09:29:54
 From: Father Paul <+15095998437>

 Well! We're you watching football




                        Instant Message : Native Messages                       Time: 09:30:36
                        From: Unknown

                        At my home, I am not going out. If I get covid I'm done here. Staying
                        in my bubble




 Instant Message : Native Messages                      Time: 09:31:07
 From: Father Paul <+15095998437>

 I know that.



                                           End Thread




                                      Thread Statistics
                  Instant Message Count: 9




                                                                              Exhibit B Page 28
                                                                                     ROLOVICH00012151
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1228    Page 29
                                           of 64

          Chat with "Father Paul" <+15095998437> on September 3,
                                    2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-09-03 08:07:06
         Latest item: 2021-09-03 15:09:00


                                      Friday 03 September 2021




 Instant Message : Native Messages                          Time: 08:07:06
 From: Father Paul <+15095998437>

 “When you pass through the waters, I will be with you; and through the
 rivers, they shall not overwhelm you; when you walk through fire you
 shall not be burned, and the flame shall not consume you.”

 Isaiah 43:2



                        Instant Message : Native Messages                     Time: 08:08:28
                        From: Unknown

                        Thats a good one, good timing



 Instant Message : Native Messages                          Time: 08:10:04
 From: Father Paul <+15095998437>

 Know that you will be taken care of. You have a great support system.
 Lots of love for you Nick.



 Instant Message : Native Messages                          Time: 13:34:26
 From: Father Paul <+15095998437>

 How you doing




                        Instant Message : Native Messages                     Time: 14:55:27
                        From: Unknown

                        Great




                                                                             Exhibit B Page 29
                                                                                     ROLOVICH00034057
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24       PageID.1229       Page 30
                                            of 64
                          Instant Message : Native Messages                      Time: 14:55:38
                          From: Unknown

                          These boys get to play tomorrow




 Instant Message : Native Messages                          Time: 15:06:37
 From: Father Paul <+15095998437>

 Yes sir they do. And you are there leader.




                          Instant Message : Native Messages                      Time: 15:07:38
                          From: Unknown

                          "Their". Men of the clothe must still have proper grammar Father. Thank
                          you for your presence



 Instant Message : Native Messages                          Time: 15:08:15
 From: Father Paul <+15095998437>

 Shit. I flunk grammar.



                          Instant Message : Native Messages                      Time: 15:08:39
                          From: Unknown

                          But you aced goodness



 Instant Message : Native Messages                          Time: 15:09:00
 From: Father Paul <+15095998437>

 Sometimes. Thank u



                                              End Thread




                                  Thread Statistics
                   Instant Message Count: 11




                                                                                Exhibit B Page 30
                                                                                       ROLOVICH00034058
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24          PageID.1230    Page 31
                                           of 64

           Chat with "Father Paul" <+15095998437> on September 8,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-09-08 06:04:25
         Latest item: 2021-09-08 13:57:05


                                      Wednesday 08 September 2021




                         Instant Message : Native Messages                      Time: 06:04:25
                         From: Unknown

                         Today is a new day and I'm excited about it.



 Instant Message : Native Messages                           Time: 07:32:15
 From: Father Paul <+15095998437>

 Praise God




 Instant Message : Native Messages                           Time: 13:02:02
 From: Father Paul <+15095998437>

 Hey are you free to chat in person




                         Instant Message : Native Messages                      Time: 13:05:04
                         From: Unknown

                         Sure



                         Instant Message : Native Messages                      Time: 13:07:48
                         From: Unknown

                         I have a meeting with Pat shortly but should be available sometime
                         after that



 Instant Message : Native Messages                           Time: 13:19:17
 From: Father Paul <+15095998437>

 Ok. Praying for you. I think it's time if he does not know about your
 taking the religious exemption.




                                                                               Exhibit B Page 31
                                                                                       ROLOVICH00001415
Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24        PageID.1231    Page 32
                                         of 64
                       Instant Message : Native Messages                    Time: 13:49:44
                       From: Unknown

                       I am done with Pat, if you want to get together




 Instant Message : Native Messages                      Time: 13:50:09
 From: Father Paul <+15095998437>

 Yes. On my way Dow.




 Instant Message : Native Messages                      Time: 13:57:05
 From: Father Paul <+15095998437>

 Outside



                                          End Thread




                                      Thread Statistics
                Instant Message Count: 9




                                                                           Exhibit B Page 32
                                                                                   ROLOVICH00001416
Case 2:22-cv-00319-TOR             ECF No. 89-3     filed 09/23/24       PageID.1232    Page 33
                                              of 64

          Chat with "Father Paul" <+15095998437> on September 14,
                                     2021
          All Parties: Father Paul <+15095998437>; Unknown

          Earliest item: 2021-09-14 08:46:25
          Latest item: 2021-09-14 18:56:36


                                        Tuesday 14 September 2021




 Instant Message : Native Messages                            Time: 08:46:25
 From: Father Paul <+15095998437>

 B

 rothers and sisters:

 Christ Jesus, though he was in the form of God,

 did not regard equality with God something to be grasped.

 Rather, he emptied himself,

 taking the form of a slave,

 coming in human likeness;

 and found human in appearance,

 he humbled himself,

 becoming obedient to death,

 even death on a cross.

 Because of this, God greatly exalted him

 and bestowed on him the name

 that is above every name,

 that at the name of Jesus

 every knee should bend,

 of those in heaven and on earth and under the earth,

 and every tongue confess that

 Jesus Christ is Lord,

 to the glory of God the Father.




                                                                               Exhibit B Page 33
                                                                                       ROLOVICH00012152
Case 2:22-cv-00319-TOR             ECF No. 89-3     filed 09/23/24    PageID.1233    Page 34
                                              of 64
 Instant Message : Native Messages                         Time: 18:10:01
 From: Father Paul <+15095998437>

 Hello Coach how have you been doing?




                        Instant Message : Native Messages                    Time: 18:11:24
                        From: Unknown

                        I've been ok, deadline is approaching




 Instant Message : Native Messages                         Time: 18:11:55
 From: Father Paul <+15095998437>

 Did you fill out your paperwork



                        Instant Message : Native Messages                    Time: 18:56:36
                        From: Unknown

                        Not yet



                                              End Thread




                                         Thread Statistics
                  Instant Message Count: 5




                                                                            Exhibit B Page 34
                                                                                    ROLOVICH00012153
Case 2:22-cv-00319-TOR               ECF No. 89-3     filed 09/23/24       PageID.1234    Page 35
                                                of 64

          Chat with "Father Paul" <+15095998437> on September 27,
                                     2021
          All Parties: Father Paul <+15095998437>; Unknown

          Earliest item: 2021-09-27 09:33:52
          Latest item: 2021-09-27 10:56:11


                                          Monday 27 September 2021




 Instant Message : Native Messages                              Time: 09:33:52
 From: Father Paul <+15095998437>

 I am in Spokane till Wednesday. If you need anything please let me
 know.



 Instant Message : Native Messages                              Time: 09:43:39
 From: Father Paul <+15095998437>

 Philippians 1:20, 21

 I know that I shall never be put to shame,

 because my hopes and expectations have never been disappointed.

 I fully trust that now as always

 – Christ will be glorified in me,

 whether I live or die.

 For to me life is Christ, and death is gain.

 – Christ will be glorified in me,

 whether I live or die.



 Instant Message : Native Messages                              Time: 10:37:37
 From: Father Paul <+15095998437>

 Do you have 10 minutes to talk




 Instant Message : Native Messages                              Time: 10:40:47
 From: Father Paul <+15095998437>

 It's regarding Abe




                                                                                 Exhibit B Page 35
                                                                                         ROLOVICH00012154
Case 2:22-cv-00319-TOR       ECF No. 89-3     filed 09/23/24     PageID.1235    Page 36
                                        of 64
                      Instant Message : Native Messages                 Time: 10:55:44
                      From: Unknown

                      Can you give me 20 minutes




 Instant Message : Native Messages                    Time: 10:56:11
 From: Father Paul <+15095998437>

 Yes



                                         End Thread




                                     Thread Statistics
                Instant Message Count: 6




                                                                       Exhibit B Page 36
                                                                               ROLOVICH00012155
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24           PageID.1236    Page 37
                                           of 64

             Chat with "Father Paul" <+15095998437> on October 5,
                                      2021
           All Parties: Father Paul <+15095998437>; Unknown

           Earliest item: 2021-10-05 12:53:36
           Latest item: 2021-10-05 21:25:01


                                       Tuesday 05 October 2021




 Instant Message : Native Messages                           Time: 12:53:36
 From: Father Paul <+15095998437>

 Nick I'm walking by your place in the next five minutes are you in your
 office to chat or free to?



                        Instant Message : Native Messages                        Time: 12:54:23
                        From: Unknown

                        Ok




 Instant Message : Native Messages                           Time: 13:00:40
 From: Father Paul <+15095998437>

 Outside




 Instant Message : Native Messages                           Time: 20:29:31
 From: Father Paul <+15095998437>

 What will you do if you get the religious Exemption, and others don't?
 Plus already some have not



                        Instant Message : Native Messages                        Time: 21:22:41
                        From: Unknown

                        Who has not?



 Instant Message : Native Messages                           Time: 21:25:01
 From: Father Paul <+15095998437>

 Gotten the Exemption




                                                                                Exhibit B Page 37
                                                                                        ROLOVICH00001417
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1237    Page 38
                                    of 64
                                    End Thread




                               Thread Statistics
              Instant Message Count: 6




                                                                 Exhibit B Page 38
                                                                         ROLOVICH00001418
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24          PageID.1238    Page 39
                                           of 64

            Chat with "Father Paul" <+15095998437> on October 12,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-10-12 10:32:39
         Latest item: 2021-10-12 17:50:24


                                       Tuesday 12 October 2021




 Instant Message : Native Messages                           Time: 10:32:39
 From: Father Paul <+15095998437>

 Is it possible for you to send out a notice to players that if they are
 interested in attending a Varsity Bible study tonight an every Tuesday at
 7pm. My place. Abe an Liam will be leading it. Thanks.



                        Instant Message : Native Messages                       Time: 10:33:37
                        From: Unknown

                        I probably have to let Liam or Abe send it out




 Instant Message : Native Messages                           Time: 10:33:58
 From: Father Paul <+15095998437>

 Ok.




 Instant Message : Native Messages                           Time: 17:05:39
 From: Father Paul <+15095998437>

 How is you day



                        Instant Message : Native Messages                       Time: 17:05:59
                        From: Unknown

                        Up and down



 Instant Message : Native Messages                           Time: 17:06:34
 From: Father Paul <+15095998437>

 Ready to head into mass in 5 min. This mass is for you.




                                                                               Exhibit B Page 39
                                                                                       ROLOVICH00034059
Case 2:22-cv-00319-TOR         ECF No. 89-3     filed 09/23/24      PageID.1239    Page 40
                                          of 64
                       Instant Message : Native Messages                   Time: 17:06:54
                       From: Unknown

                       Thank you




 Instant Message : Native Messages                      Time: 17:07:20
 From: Father Paul <+15095998437>

 Gods got this




 Instant Message : Native Messages                      Time: 17:50:24
 From: Father Paul <+15095998437>

 I need fire wood for the winter. You mentioned you went to get some,

 Were?



                                           End Thread




                                      Thread Statistics
                  Instant Message Count: 9




                                                                          Exhibit B Page 40
                                                                                  ROLOVICH00034060
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1240         Page 41
                                           of 64

            Chat with "Father Paul" <+15095998437> on October 13,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-10-13 08:22:03
         Latest item: 2021-10-13 23:07:33


                                      Wednesday 13 October 2021




 Instant Message : Native Messages                          Time: 08:22:03
 From: Father Paul <+15095998437>

 Hey Chris Parks wife Anna is in surgery till 4pm today.



                         Instant Message : Native Messages                      Time: 09:48:48
                         From: Unknown

                         Yes, I texted him




                         Instant Message : Native Messages                      Time: 19:44:46
                         From: Unknown

                         I got some firewood from a guy named Len in Endicott. Not sure if he
                         has more ready but I can ask if you want?




                         Instant Message : Native Messages                      Time: 20:55:15
                         From: Unknown

                         He has more if you would like me to schedule a delivery forbyou



 Instant Message : Native Messages                          Time: 20:55:49
 From: Father Paul <+15095998437>

 That would be great.




                                                                              Exhibit B Page 41
                                                                                      ROLOVICH00034061
Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24         PageID.1241    Page 42
                                         of 64
 Instant Message : Native Messages                     Time: 23:07:33
 From: Father Paul <+15095998437>

 Courage doesn’t mean you don’t get afraid. Courage means you don’t
 let fear stop you.

 Bethany Hamilton



                                          End Thread




                                     Thread Statistics
                    Instant Message Count: 6




                                                                            Exhibit B Page 42
                                                                                    ROLOVICH00034062
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24          PageID.1242    Page 43
                                            of 64

            Chat with "Father Paul" <+15095998437> on October 18,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-10-18 09:57:08
         Latest item: 2021-10-18 19:25:27


                                          Monday 18 October 2021




 Instant Message : Native Messages                             Time: 09:57:08
 From: Father Paul <+15095998437>

 And I am certain that God, who began the good work within you, will
 continue His work until it is finally finished on the day when Christ Jesus
 returns. ~ Philippians 1:6. So we say with confidence, “The Lord is my
 helper; I will not be afraid. What can mere mortals do to me?



 Instant Message : Native Messages                             Time: 12:49:03
 From: Father Paul <+15095998437>

 I am free all day if you need anything




 Instant Message : Native Messages                             Time: 16:20:57
 From: Father Paul <+15095998437>

 The LORD is my shepherd, I shall not be in want. he restores my soul.
 He guides me in paths of righteousness for his name's sake. Even
 though I walk through the valley of the shadow of death, I will fear no
 evil, for you are with me; your rod and your staff, they comfort me.




 Instant Message : Native Messages                             Time: 17:10:11
 From: Father Paul <+15095998437>

 I love you an believe in you soooo much.



 Instant Message : Native Messages                             Time: 17:13:13
 From: Father Paul <+15095998437>

 I am outside




                                                                                Exhibit B Page 43
                                                                                        ROLOVICH00012156
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24      PageID.1243    Page 44
                                           of 64
                        Instant Message : Native Messages                   Time: 17:42:03
                        From: Unknown

                        I wasn't allowed back in the building




 Instant Message : Native Messages                       Time: 17:42:45
 From: Father Paul <+15095998437>

 That sucks. I am sooo sorry.




 Instant Message : Native Messages                       Time: 17:42:56
 From: Father Paul <+15095998437>

 We're you at



 Instant Message : Native Messages                       Time: 17:47:17
 From: Father Paul <+15095998437>

 What about your Religious exemption



 Instant Message : Native Messages                       Time: 17:47:47
 From: Father Paul <+15095998437>

 Do you want to come to the Newman Center? And abe would to get the
 team to come to the church



 Instant Message : Native Messages                       Time: 18:03:31
 From: Father Paul <+15095998437>

 So you know St Gall is always unlocked.




 Instant Message : Native Messages                       Time: 19:25:27
 From: Father Paul <+15095998437>

 Hey please give my number to the other coaches. I am here for you all.



                                            End Thread




                                 Thread Statistics
                  Instant Message Count: 12


                                                                           Exhibit B Page 44
                                                                                   ROLOVICH00012157
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1244    Page 45
                                           of 64

           Chat with "Father Paul" <+15095998437> on October 21,
                                    2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-10-21 07:35:44
         Latest item: 2021-10-21 10:38:54


                                      Thursday 21 October 2021




                         Instant Message : Native Messages                    Time: 07:35:44
                         From: Unknown

                         Is there any mass during the week in the area?



 Instant Message : Native Messages                          Time: 08:02:04
 From: Father Paul <+15095998437>

 9 am today at st Boniface




 Instant Message : Native Messages                          Time: 08:02:39
 From: Father Paul <+15095998437>

 5:10 at Newman center




 Instant Message : Native Messages                          Time: 08:26:28
 From: Father Paul <+15095998437>

 Pm



 Instant Message : Native Messages                          Time: 09:42:17
 From: Father Paul <+15095998437>

 Nick do you have time tomorrow to meet up?



 Instant Message : Native Messages                          Time: 09:45:33
 From: Father Paul <+15095998437>

 We need to talk about the law suit




                                                                             Exhibit B Page 45
                                                                                     ROLOVICH00001300
Case 2:22-cv-00319-TOR            ECF No. 89-3     filed 09/23/24      PageID.1245    Page 46
                                             of 64
 Instant Message : Native Messages                        Time: 09:46:09
 From: Father Paul <+15095998437>

 Also, please call Bishop Daily




 Instant Message : Native Messages                        Time: 10:38:51
 From: Father Paul <+15095998437>

 Church is concerned with dignity of each human being.



 Each person has inherent freedom…the gift of free will from God.
 That’s the heart of all morality.



 Vatican note here on vaccines need to be voluntary….paragraph 5. But
 there comes with that freedom obligations…to take steps to protect
 others and the common good. With every right comes a responsibility .



 Example of abortion. Mother has freedom…but when she bears a child,
 The baby has a right to life…mother has obligations to preserve that
 life. Freedom is not exclusive.



 Back to vaccines…coach has freedom to say no vaccine…that’s ok. But
 he then should be required to take all measures to reduce risk of
 spreading virus…mask, testing etc.



 That’s the perfect world…but we don’t live in a perfect world. The state
 upholds abortion, violating the freedom of the baby. The state also has
 many laws that violate one’s freedom to some degree. Some are moral
 (traffic laws) some are not ….abortion….death penalty…other
 examples. And vaccine mandate could be said to fall in that category.



 Church complies with laws…just and unjust, but one’s freedom of
 conscience also comes into play….



 Bottom line: call them to think deeply about the issues…learn the
 teaching….know that Christ is present….avoid the spin, bitterness etc of
 the debate.

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                                                                             Exhibit B Page 46
                                                                                     ROLOVICH00001301
Case 2:22-cv-00319-TOR         ECF No. 89-3     filed 09/23/24    PageID.1246    Page 47
                                          of 64
 Instant Message : Native Messages                     Time: 10:38:54
 From: Father Paul <+15095998437>

 This is what I am preaching on.



                                          End Thread




                                     Thread Statistics
                  Instant Message Count: 9




                                                                        Exhibit B Page 47
                                                                                ROLOVICH00001302
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24        PageID.1247     Page 48
                                           of 64

             Chat with "Father Paul" <+15095998437> on November 4,
                                       2021
            All Parties: Father Paul <+15095998437>; Unknown

            Earliest item: 2021-11-04 11:18:12
            Latest item: 2021-11-04 13:21:33


                                      Thursday 04 November 2021




 Instant Message : Native Messages                          Time: 11:18:12
 From: Father Paul <+15095998437>

 Hello. How have you been doing.



                         Instant Message : Native Messages                      Time: 11:21:01
                         From: Unknown

                         I think they will win the Pac 12




 Instant Message : Native Messages                          Time: 11:25:29
 From: Father Paul <+15095998437>

 So do I.




 Instant Message : Native Messages                          Time: 12:39:29
 From: Father Paul <+15095998437>

 So how are you doing personally and how was your trip



                         Instant Message : Native Messages                      Time: 12:40:30
                         From: Unknown

                         I'm ok, confused, scared, why me stuff. Trip was wonderful



 Instant Message : Native Messages                          Time: 13:20:11
 From: Father Paul <+15095998437>

 I know. An get it.




                                                                               Exhibit B Page 48
                                                                                      ROLOVICH00001419
Case 2:22-cv-00319-TOR           ECF No. 89-3     filed 09/23/24            PageID.1248    Page 49
                                            of 64
 Instant Message : Native Messages                          Time: 13:20:21
 From: Father Paul <+15095998437>

 "Consider it pure joy, my brothers, and sisters, whenever you face trials
 of many kinds because you know that the testing of your faith produces
 perseverance. Let perseverance finish its work so that you may be
 mature and complete, not lacking anything. If any of you lacks wisdom,
 you should ask God, who gives generously to all without finding fault,
 and it will be given to you."




 Instant Message : Native Messages                          Time: 13:21:26
 From: Father Paul <+15095998437>

 In my experience this kind of suffering it's a preparation for things to
 come. Know I'm here for you I love you can't believe in you




 Instant Message : Native Messages                          Time: 13:21:33
 From: Father Paul <+15095998437>

 And



                                              End Thread




                                  Thread Statistics
                   Instant Message Count: 9




                                                                                  Exhibit B Page 49
                                                                                          ROLOVICH00001420
Case 2:22-cv-00319-TOR          ECF No. 89-3     filed 09/23/24         PageID.1249       Page 50
                                           of 64

           Chat with "Father Paul" <+15095998437> on November 5,
                                     2021
         All Parties: Father Paul <+15095998437>; Unknown

         Earliest item: 2021-11-05 10:47:24
         Latest item: 2021-11-05 12:52:00


                                        Friday 05 November 2021




                         Instant Message : Native Messages                         Time: 10:47:24
                         From: Unknown

                         1 Corinthians 12, is a wonderful lesson I will use with the next team I
                         coach.



                         Instant Message : Native Messages                         Time: 10:48:36
                         From: Unknown

                         1 Corinthians 13, 1-2 really spoke to me todday




 Instant Message : Native Messages                           Time: 10:50:06
 From: Father Paul <+15095998437>

 That is simply awesome. I can't wait till the day comes. One of my
 favorites




 Instant Message : Native Messages                           Time: 10:51:46
 From: Father Paul <+15095998437>

 It what way is it speaking.



                         Instant Message : Native Messages                         Time: 10:52:35
                         From: Unknown

                         Truth. In the purpose of living



 Instant Message : Native Messages                           Time: 10:53:09
 From: Father Paul <+15095998437>

 Amen.




                                                                                 Exhibit B Page 50
                                                                                        ROLOVICH00001421
Case 2:22-cv-00319-TOR         ECF No. 89-3     filed 09/23/24       PageID.1250    Page 51
                                          of 64
 Instant Message : Native Messages                      Time: 10:53:40
 From: Father Paul <+15095998437>

 I am glad your thinking about coaching.




                        Instant Message : Native Messages                   Time: 10:54:08
                        From: Unknown

                        Yeah, me too




 Instant Message : Native Messages                      Time: 10:56:05
 From: Father Paul <+15095998437>

 Young people need your heart an courage. This is just the beginning of
 how God is preparing you. Suffering is the greatest resume out there.



                        Instant Message : Native Messages                   Time: 10:57:30
                        From: Unknown

                        James 1:3-4



 Instant Message : Native Messages                      Time: 10:58:25
 From: Father Paul <+15095998437>

 Yesssss. Love this.



 Instant Message : Native Messages                      Time: 12:52:00
 From: Father Paul <+15095998437>

 Hi Nick would your son like to make some money raking leaves I've got
 a backyard in a front yard full of them I'll pay them $75



                                           End Thread




                                  Thread Statistics
                   Instant Message Count: 12




                                                                           Exhibit B Page 51
                                                                                   ROLOVICH00001422
       Case 2:22-cv-00319-TOR     ECF No. 89-3     filed 09/23/24      PageID.1251     Page 52
                                             of 64

Instant Message
 Source:          Native Messages

 Service          +19039321449
 Identifier:
   From:Ident     +15095998437
 ifier:
     From:Role:   From

  From:Nam        Father Paul
 e:
   From:Ident     PhoneNumber
 ifier Type:
  From:Norm       +15095998437
 alized
 Identifier:
 Body:
                  Romans 8:38-39
                  For I am convinced that neither death nor life, neither angels nor demons,
                  neither the present nor the future, nor any powers, neither height nor depth, nor
                  anything else in all creation, will be able to separate us from the love of God that
                  is in Christ Jesus our Lord.

 Identifier:      Empty Value

 Time Stamp:      2021-11-27 16:54:46

     Attachment   Empty Object
 :
 Status:          Read

 Type:            Sms

 Folder:          Inbox

 Source           Native Messages
 Application:
 Parent           Native Messages
 Source:




                                                                               Exhibit B Page 52
                                                                                      ROLOVICH00026028
     Case 2:22-cv-00319-TOR     ECF No. 89-3     filed 09/23/24   PageID.1252      Page 53
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Instant Message
 Source:                        Native Messages

 Service Identifier:            +19039321436

  From:Identifier:              +15095998437

  From:Role:                    From

  From:Name:                    Father Paul

  From:Identifier Type:         PhoneNumber

  From:Normalized Identifier:   +15095998437

 Body:                          Love some. I think Ian have the new virus though

 Identifier:                    Empty Value

 Time Stamp:                    2022-01-07 02:15:23

  Attachment:                   Empty Object

 Status:                        Read

 Type:                          Sms

 Folder:                        Inbox

 Source Application:            Native Messages

 Parent Source:                 Native Messages




                                                                         Exhibit B Page 53
                                                                                ROLOVICH00035188
     Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24   PageID.1253    Page 54
                                              of 64

Instant Message
 Source:                      Native Messages

 Service Identifier:          Empty Value

  From:Identifier:            Empty Value

  From:Role:                  From

  From:Is Phone Owner:        Yes

  To:Identifier:              +15095998437

  To:Role:                    To

  To:Name:                    Father Paul

  To:Identifier Type:         PhoneNumber

  To:Normalized Identifier:   +15095998437

 Body:                        Or we can meet at Roost but im not wearing a mask

 Identifier:                  Empty Value

 Time Stamp:                  2022-01-14 15:39:37

  Attachment:                 Empty Object

 Status:                      Sent

 Type:                        AppMessage

 Folder:                      Sent

 Source Application:          Native Messages

 Parent Source:               Native Messages




                                                                           Exhibit B Page 54
                                                                                   ROLOVICH00035199
    Case 2:22-cv-00319-TOR      ECF No. 89-3     filed 09/23/24   PageID.1254    Page 55
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Instant Message
 Source:                        IMS Service

  From:Identifier:              14153286745

  From:Role:                    From

  From:Name:                    Empty Value

  From:Is Phone Owner:          Yes

  From:Identifier Type:         PhoneNumber

  From:Normalized Identifier:   +14153286745

  To:Identifier:                +15095998437

  To:Role:                      To

  To:Name:                      Father Paul

  To:Identifier Type:           PhoneNumber

  To:Normalized Identifier:     +15095998437

 Body:                          Or we can meet at Roost but im not wearing a mask

 Time Stamp:                    2022-01-14 15:39:37

 Date Delivered:                Empty Value

  Attachment:                   Empty Object

 Status:                        Empty Value

 Type:                          Sms

 Folder:                        Sent

 SMSC:                          Empty Value

 Source Application:            IMS Service




                                                                        Exhibit B Page 55
                                                                                ROLOVICH00035200
       Case 2:22-cv-00319-TOR        ECF No. 89-3     filed 09/23/24    PageID.1255      Page 56
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Instant Message
 Source:               Native Messages

 Service               Empty Value
 Identifier:
     From:Identifier   5095998437
 :
     From:Role:        From

     From:Name:        Father Paul

  From:Identifier      PhoneNumber
 Type:
  From:Normaliz        +15095998437
 ed Identifier:
     To:Identifier:    4153286745

     To:Role:          To

     To:Name:          Empty Value

  To:Is Phone          Yes
 Owner:
  To:Identifier        PhoneNumber
 Type:
  To:Normalized        +14153286745
 Identifier:
 Subject:              Empty Value

 Body:
                       The Lord's descent into hell
                       "What is happening? Today there is a great silence over the earth, a great
                       silence, and stillness, a great silence because the King sleeps; the earth was
                       in terror and was still, because God slept in the flesh and raised up those
                       who were sleeping from the ages. God has died in the flesh, and the
                       underworld has trembled.
                       Truly he goes to seek out our first parent like a lost sheep; he wishes to visit
                       those who sit in darkness and in the shadow of death. He goes to free the
                       prisoner Adam and his fellow-prisoner Eve from their pains, he who is God,
                       and Adam's son.
                       The Lord goes in to them holding his victorious weapon, his cross. When
                       Adam, the first created man, sees him, he strikes his breast in terror and
                       calls out to all: 'My Lord be with you all.' And Christ in reply says to Adam:
                       Â‘And with your spirit.Â’ And grasping his hand he raises him up, saying:
                       Â‘Awake, O sleeper, and arise from the dead, and Christ shall give you light.
                       Â‘I am your God, who for your sake became your son, who for you and your

                                                                                Exhibit B Page 56
                                                                                       ROLOVICH00026914
    Case 2:22-cv-00319-TOR       ECF No. 89-3      filed 09/23/24   PageID.1256 Page 57
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                    descendants now speak and command with authority those in prison: Come
                    forth, and those in darkness: Have light, and those who sleep

Identifier:         Empty Value

Time Stamp:         2022-04-16 21:11:23

 Attachment:        Empty Object

 Attachments:Fil    pkeys.jpg
ename:
 Attachments:C      image/jpeg
ontent Type:
 Attachments:D      3290
ata:
 Attachments:U      Empty Value
RL:
  Attachments:At    files\Image\PART_1650143485499_pkeys.jpg
tachment
Extracted Path:
 Attachments:Fil    vuoto.gif
ename:
 Attachments:C      image/gif
ontent Type:
 Attachments:D      49
ata:
 Attachments:U      Empty Value
RL:
  Attachments:At    files\Image\PART_1650143485507_vuoto.gif
tachment
Extracted Path:
 Attachments:Fil    back.jpg
ename:
 Attachments:C      image/jpeg
ontent Type:
 Attachments:D      2659
ata:
 Attachments:U      Empty Value
RL:
  Attachments:At    files\Image\PART_1650143485512_back.jpg
tachment
Extracted Path:


                                                                      Exhibit B Page 57
                                                                             ROLOVICH00026915
   Case 2:22-cv-00319-TOR         ECF No. 89-3     filed 09/23/24   PageID.1257    Page 58
                                             of 64
 Attachments:Fil   up.jpg
ename:
 Attachments:C     image/jpeg
ontent Type:
 Attachments:D     2715
ata:
 Attachments:U     Empty Value
RL:
  Attachments:At   files\Image\PART_1650143485518_up.jpg
tachment
Extracted Path:
 Attachments:Fil   psearch_f.jpg
ename:
 Attachments:C     image/jpeg
ontent Type:
 Attachments:D     2103
ata:
 Attachments:U     Empty Value
RL:
  Attachments:At   files\Image\PART_1650143485523_psearch_f.jpg
tachment
Extracted Path:
 Attachments:Fil   riga_int.jpg
ename:
 Attachments:C     image/jpeg
ontent Type:
 Attachments:D     6744
ata:
 Attachments:U     Empty Value
RL:
  Attachments:At   files\Image\PART_1650143485529_riga_int.jpg
tachment
Extracted Path:
Status:            Read

Type:              Mms

Folder:            Inbox

Source             Native Messages
Application:
Parent Source:     Native Messages

                                                                          Exhibit B Page 58
                                                                                  ROLOVICH00026916
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1258    Page 59
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                                                                 Exhibit B Page 59
                                                                         ROLOVICH00026917
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1259    Page 60
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                                                                 Exhibit B Page 60
                                                                         ROLOVICH00026918
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1260    Page 61
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                                                                 Exhibit B Page 61
                                                                         ROLOVICH00026919
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1261    Page 62
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                                                                 Exhibit B Page 62
                                                                         ROLOVICH00026920
Case 2:22-cv-00319-TOR   ECF No. 89-3     filed 09/23/24   PageID.1262    Page 63
                                    of 64




                                                                 Exhibit B Page 63
                                                                         ROLOVICH00026921
       Case 2:22-cv-00319-TOR       ECF No. 89-3     filed 09/23/24   PageID.1263     Page 64
                                               of 64

Instant Message
 Source:             Native Messages

 Service             Empty Value
 Identifier:
   From:Identi       Empty Value
 fier:
     From:Role:      From

  From:Is            Yes
 Phone
 Owner:
     To:Identifier   +15095998437
 :
     To:Role:        To

     To:Name:        Father Paul

  To:Identifier      PhoneNumber
 Type:
  To:Normaliz        +15095998437
 ed Identifier:
 Body:               Not yet, and my phone died and i missed church. I mowed the lawn and did
                     pushups. Talked to God a bit about forgiveness. Do you think the lawsuit is
                     considered revenge?
 Identifier:         Empty Value

 Time Stamp:         2022-05-15 21:36:58

     Attachment:     Empty Object

 Status:             Sent

 Type:               Sms

 Folder:             Sent

 Source              Native Messages
 Application:
 Parent              Native Messages
 Source:




                                                                              Exhibit B Page 64
                                                                                     ROLOVICH00035327
